                    Case 1:21-cv-01079-LY Document 5 Filed 09/21/22 Page 1 of 1
                                    UNITED STATES DISTRICT COURT
                                        OFFICE OF THE CLERK
                                         WESTERN DISTRICT OF TEXAS




                                                                            501 West Fifth Street, Suite 1100
                                                                                        Austin, Texas 78701
Phillip J. Devlin                                                                              512-916-5896
                                         September 21, 2022


Gregory Royal
8100 North MoPac Expressway, Apt. 227
Austin, Texas 78759


RE:        1:21-cv-1079 LY


Dear Mr. Royal;

The court has entered an Order granting you permission to proceed in forma pauperis (dkt #4) and
directing the clerk to issue summons.

In reviewing the Complaint (dkt #1) we note that there is no specific address provided for
defendant Paula Diaz. If it is your intent for the court to serve defendant Diaz, the court requires
that a pleading that contains the full address at which the defendant may be served. The pleading
may be filed in the form of a “Notice to the Court”. Failure to comply may result in the dismissal
of this action against defendant Diaz.

                                                Sincerely,
                                                CC
                                                By: Operations Clerk




                                          www.txwd.uscourts.gov
